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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §        CASE NO. 9:11-CR-33(13)
                                                  §
 AMANDA HODGES                                    §

                           MEMORANDUM ORDER
              ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                        ON DEFENDANT’S GUILTY PLEA

        The Court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

 Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal Procedure.

 Judge Hawthorn conducted a hearing in the form and manner prescribed by Federal Rule of Criminal

 Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea Before the United

 States Magistrate Judge. The magistrate judge recommended that the Court accept the Defendant’s

 guilty plea, but defer acceptance of the plea agreement until the Court has had an opportunity to

 review the presentence report. He further recommended that the Court adjudge the Defendant guilty

 on Count Sixty eight of the charging Indictment filed against the Defendant.

        The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge are

 ADOPTED. The Court accepts the Defendant’s plea, but defers acceptance of the plea agreement

 until the Court has reviewed the presentence report.

        It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the defendant, Amanda Hodges, is adjudged guilty



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 as to Count Sixty-eight of the Indictment charging a violation of Title 21, United States Code,

 Section 841(c)(2).

      So ORDERED and SIGNED this 21 day of December, 2011.




                                                  ___________________________________
                                                  Ron Clark, United States District Judge




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